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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )
                                          )                    No.    21-CR-378 TJK
ARTHUR JACKMAN et al.,                    )
                                          )
            Defendants.                   )
__________________________________________)

                 JOINT STATUS REPORT AND MOTION TO CONTINUE

       The parties submit this joint status report to provide the Court with an update on the

status of the above-captioned case, and to move the court to continue the case approximately 60

days, at which time the parties can file a status report or appear for a status conference, as the

Court directs.

                                        Joint Status Report

       Since the parties’ last appearance in October 2021, the government has produced

significant additional discovery. First, the government’s November 5, 2021 and October 22,

2021 memoranda regarding the status of global discovery on the defense version of

Evidence.com and Relativity Workspace outlines some of the progress that has been made to

give defense counsel access to each of those databases. See Dkts. 70, 71. The government

anticipates filing another update memorandum with this Court in the next two weeks. But

currently, FPD and its vendor are still working to optimize defense attorney review of the

voluminous documents the government anticipates providing in the near future, and are using the

sample productions the government has made to the defense Relativity database to do so. This is

an ongoing and time-intensive process. Once it is complete, defense counsel will have access to

a populated defense Relativity database.

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       Second, since the last status conference in this case, the government has also produced

six global productions, involving tens of thousands of files, to all Capitol Breach defendants.

These productions have included, among many other things, thousands of files of U.S. Capitol

Police Closed Circuit Video footage; over 1,000 files of body-worn camera footage; maps of the

Capitol; reports of interviews and other information; and government work product aimed at

assisting defense counsel in understanding the discovery in this investigation.

       Third, in this case in particular, the government produced on December 22, 2021 a

significant quantity of cross-discovery that had been previously produced to defendants in the

case of United States v. Ethan Nordean et al., No. 21-CR-175 (TJK).

       The discovery process and negotiations with respect to a potential resolution of these

cases are expected to continue past the first week of March.

       Finally, the government and counsel for defendant Paul Rae note that a pretrial violation

report was filed as to Mr. Rae on October 6, 2021. See Dkt. 68. This violation report stated that

Mr. Rae was arrested for boating under the influence. Id. Mr. Rae’s BUI case is ongoing.

Pretrial services is not recommending action at this point. Counsel for Mr. Rae notes that Mr.

Rae was admonished for this incident, and states that there have been no further issues since that

arrest. The government defers to the Court in terms of how it wishes to handle the violation

report relating to Mr. Rae’s arrest. The government may affirmatively seek a change in Mr.

Rae’s bond status or conditions if his ongoing BUI case results in a conviction.

                                        Motion to Continue

       This filing also serves as a joint motion to continue this case to a date in approximately

60 days. The parties request that the Court exclude the time until that next date (be it a status

report or status conference date) from the time within which the trial must commence under the



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Speedy Trial Act, 18 U.S.C. § 3161 et seq., on the basis that the ends of justice served by taking

such action outweigh the best interest of the public and the defendants in a speedy trial pursuant

to the factors described in 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv). Counsel for the

defense and for the government require additional time to review the discovery that has been

provided to date, and to permit the defendants to review that material, some of which is

designated “Highly Sensitive” pursuant to the protective order.

       In addition, on December 30, 2021, in recognition of the current high rate of transmission

of the Omicron variant in the District of Columbia, Chief Judge Howell issued Standing Order

21-83, suspending all jury trials until January 24, 2022. See In Re: Postponement of Jury Trials

and Closing of Public Access to Clerk’s Office in Light of Current Circumstances Relating to the

COVID-19 Pandemic, Standing Order No. 21-83 (Dec. 30, 2021). In addition to other findings,

the Court found that “given the emergence of the highly-contagious Omicron variant and the

extraordinarily high case rates currently in the District of Columbia, as well as the high rates of

‘breakthrough’ cases, particularly in individuals who have not yet received a vaccine booster,

concerns about the risks of transmission remain.” Id. at 4-5. The Court noted that it had

determined in a prior standing order that a Speedy Trial Act exclusion was appropriate through

February 18, 2022, for those criminal cases that cannot be tried consistent with health and safety

protocols before that date, pursuant to 18 U.S.C. § 3161(h)(7)(A). See id. Such a conclusion is

even more appropriate in light of the new findings in Standing Order 21-83.

       Accordingly, the parties now jointly move this Court to continue this case until a date in

approximately 60 days. Such a continuance will allow for the continued provision and review of

discovery in this unusual and complex case, and will grant counsel for the defendants and the

attorneys for the government the reasonable time necessary for effective preparation, taking into



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account the exercise of due diligence. Proceeding to trial without such a continuance would be

likely to result in a miscarriage of justice, would make it unreasonable to expect adequate

preparation for pretrial proceedings and trial itself due to the unusual and complex nature of the

prosecution, and would deny counsel for all parties the time necessary for effective preparation.



                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

                                              /s/ William Dreher________
                                              WILLIAM DREHER
                                              Assistant United States Attorney, Detailee
                                              D.C. Bar No. 1033828
                                              700 Stewart Street, Suite 5220
                                              Seattle, WA 98101-1271
                                              (206) 553-4579

                                              /s/ Christopher K. Veatch
                                              CHRISTOPHER K. VEATCH
                                              Assistant United States Attorney, Detailee
                                              IL Bar No. 6276097
                                              219 S. Dearborn Street, 5th Floor
                                              Chicago, Illinois 60604
                                              christopher.veatch@usdoj.gov
                                              (312) 886-3389

                                              /s/ Nadia E. Moore
                                              NADIA E. MOORE
                                              Assistant United States Attorney, Detailee
                                              N.Y. Bar No. 4826566
                                              271 Cadman Plaza East
                                              Brooklyn, NY 11201
                                              (718) 254-6362

                                              /s/ John M. Pierce
                                              John M. Pierce
                                              JOHN PIERCE LAW
                                              21550 Oxnard Street
                                              3rd Floor OMB #172
                                              Woodland Hills, CA 91367

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                           213-279-7648

                           Counsel for defendants Paul Rae, Nathaniel Tuck,
                           and Kevin Tuck

                           /s/ Eugene Ohm
                           Eugene Ohm
                           Federal Public Defender for the District of Columbia
                           625 Indiana Avenue, NW, Suite 550
                           Washington, DC 20004
                           (202) 208-7500

                           Counsel for defendant Arthur Jackman

                           /s/ Michael E. Lawlor
                           Michael E. Lawlor
                           Brennan, McKenna & Lawlor, Chartered
                           6305 Ivy Lane, Suite 700
                           Greenbelt, MD 20770
                           (301) 474-0044

                           /s/ Nicholas G. Madiou
                           Nicholas G. Madiou
                           Brennan, McKenna & Lawlor, Chartered
                           6305 Ivy Lane, Suite 700
                           Greenbelt, MD 20770
                           (301) 474-0044

                           Counsel for defendant Edward George




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